       Case 1:19-mj-03447-EGT Document 4 Entered on FLSD Docket 09/12/2019 Page 1 of 1
                                         CO U RT M IN UTES                                                  Page8
                                 M agistrate Judge Edm in G .Torres
                       KingBuildingCourtroom 10-5                          Date:9/11/19           Time:10:00a.m.
Defendant: Iskyo Aronov                   J#:20485-104 Case #:19-3447-Torres
AUSA:Sean Cronin                                      Attorney:Joseph Tim lichm an
Violation: E/D NY/consp.,W ire & BankFraud
Proceeding: Status:Bond ,Removal& Rrc                          CJA Appt:
Bond/PTD Held:C Yes C No     Recommended Bond:
Bond set ssoo#ooo wp nx w/nebbiu
 .
                                               co-signed bv:Alben Goôrfe//e               .      .    ..-




 NV Surrenderand/ordonotobtainpassports/traveldocs                   Language:English
      ReporttoPTSas directed/or       x'saweek/monthby               Disposition:
      phone:      x'saweek/monthinperson                              counselfilesPerm anentA earnce
      Random urinetesting by PretrialServices                         The bond REM AINS assetwith aII
      Treatmentasdeemed necessary                                     condjtkons. DefendantW AIVES
 NC   Refrainfrom excessiveuseofalcohol                               RemovalandistoappearintheED/NY
 Nr   participateinmentalhealthassessment&treatment                   on1c/z/1s   .
                                                                                       j
 NV   Maintainorseekfull-timeemployment/education                                      '
 RV   Nocontactwithvictims/witnesses                                  pwpassportcardandIsraeliPassport
 Nr   Nofirearms                                                      tobqsurrenderedby9/17/19byclose
 Nr   Nottoencumberproperty                                           ofbusiness.
 Nr   Maynotvisittransportationestablishments
      HomeConfinement/ElectronicMonitoringan'd/or
      Curfew             pm to          am ,paid by
 r- Allowances:M edicalneeds,courtappearances,attorneyvisi
                                                         ts,                                     1
    religious,em ploym ent
 Nr Travelextendedto:                                                    '
 Nr other:                                                             fromspeedyTrialclock
NEXT COURT APPEARANCE Date:               Tim e:            Judge:                            Place:


PTD/BondHearing:
Prelim/ArraignorRemoval:                                                                         1-
StatusConference RE:
D.A.R. 10:28:28                                                      Tim e in Court; 4
